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                                                    June 2, 2023


Honorable Denise Cote
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:    United States v. James Velissaris,
              22 Cr. 105 (DLC)

Dear Judge Cote:

         The parties write to update the Court on their discussions regarding the appropriate
restitution amount in the above-captioned case, and to propose a briefing schedule to resolve any
disputes. (See Sentencing Transcript at 44). As the Court is aware, the restitution amount should
be determined by July 6, 2023, ninety days after the defendant’s April 7 sentencing. See 18
U.S.C. § 3664(d)(5); see also Dolan v. United States, 560 U.S. 605, 611 (2010).

       To date, two victims have alleged losses for purposes of restitution:

       Diversified Alpha Fund

      The Diversified Alpha Fund (“DAF”) alleges losses of $59,152,245.00. The supporting
documentation is attached as Exhibits A through G. The details are summarized below.

              $46,482,819.00     overpayments to former shareholders who fully redeemed their
                                 shares in the DAF at inflated net asset values
              $7,485,202.00      excess management fees paid by DAF to Infinity Q Capital
                                 Management (“IQCM”)
              $850,000.00        payments to Russell Investments for liquidation of DAF’s
                                 assets
              $1,573,882.00      payments to Alvarez and Marsal Valuation Services for
                                 reevaluation of DAF’s historical NAVs
              $2,288,416.00      payments to Cornerstone Research for distribution of DAF’s
                                 assets to shareholders
              $450,000.00        fees to Bloomberg for the BVAL license used during the
                                 reevaluation
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                 $21,926.00         attorneys’ fees for restitution application 1

          Volatility Alpha Fund

      The Volatility Alpha Fund (“VAF”) alleges losses of $67,129,126.02. The supporting
documentation is attached as Exhibit H.2 The details are summarized below.

                 $26,573,945.89     overpayments to IQCM for management fees and performance
                                    allocations
                 $18,880,319.12     overpayments to Limited Partners who withdrew funds based
                                    on inflated NAVs
                 $20,235,496.29     legal fees for Velissaris’s criminal defense up until plea and
                                    sentencing
                 $516,115.00        legal fees for Scott Lindell
                 $79,182.67         legal fees for other IQCM employees who were interviewed by
                                    the Government
                 $844,067.05        payments to Markit to revalue VAF’s historical investment
                                    portfolio

         Defense counsel was provided with the supporting documentation for the Government’s
restitution request this week. However, this week Mr. Velissaris has been in transit between BOP
facilities and counsel was unable to schedule a call with him. To avoid undue delay, in the
meantime the parties propose the following timeline:

                 June 6             defense counsel informs the Court and the Government of any
                                    objections to the above amounts
                 June 13            Government brief, if any objections are alleged
                 June 20            defense opposition, if any objections are alleged


                                                  Respectfully submitted,

                                                  DAMIAN WILLIAMS
                                                  United States Attorney

                                            by:        /s/
                                                  Margaret Graham
                                                  Assistant United States Attorney
                                                  (212) 637-2923

1
 DAF’s April 6, 2023 letter stated that the attorneys’ fees were $18,874. However, as
communicated by DAF’s counsel and reflected in the attached invoice, the correct amount is
$21,926.
2
    The Government respectfully requests that Exhibit H be filed under seal, as it contains
sensitive financial information of VAF and its investors.

                                                     2
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                            /s/
                            Michael A. Battle
                            William R. Martin (admitted pro hac vice)
                            Michelle N. Bradford (admitted pro hac vice)
                            David S. Slovick
                            Erin C. Steele (admitted pro hac vice)
                            BARNES & THORNBURG LLP
                            555 12th Street NW, Suite 1200
                            Washington, DC 20004




                               3
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                  EXHIBIT A
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                                                                                  Daniel S. Noble
                                                                                  (203) 325-5090
                                                                                  dnoble@fdh.com




                                                 March 30, 2023


Margaret S. Graham, Esq.
Assistant U.S. Attorney
U.S. Attorney’s Office
Southern District of New York
1 Saint Andrew’s Plaza
New York, NY 10007

                  Re:      United States v. James Velissaris, 22 Cr. 105 (DLC)

Dear AUSA Graham:

        We represent the Special Litigation Committee (“SLC”) of the Board of the Trust for
Advised Portfolios (“TAP”), of which the Infinity Q Diversified Alpha Fund (the “Fund”) is a
series portfolio. On December 20, 2021, the Board of TAP approved the creation of the SLC to
investigate and pursue on behalf of the Fund any potential claims against other parties arising from
the massive valuation fraud perpetrated by defendant James Velissaris. 1 Any funds that are
recovered through claims pursued by the SLC on behalf of the Fund will ultimately be distributed
to the Fund’s shareholders.

         The Fund was a victim of the securities fraud offense to which Mr. Velissaris pled guilty
in the above-captioned case. As a direct and proximate result of Mr. Velissaris’ fraudulent
mismarking scheme, the Fund incurred extensive pecuniary damages described below. The SLC,
on behalf of the Fund, requests that the Government seek restitution to compensate the Fund for
its losses when Mr. Velissaris is sentenced on April 7, 2023.

                                                   Background

        The Fund was formed in September 2014 as a series of TAP, a multiple series Delaware
statutory trust structured as an open-end management investment company registered under the
Investment Company Act of 1940. The Fund’s portfolio consisted primarily of cash and a variety
of equity and over-the counter (“OTC”) derivative positions. From the Fund’s inception, Infinity
Q Capital Management, LLC (“IQCM”), a registered investment adviser based in New York, New
York, advised and was principally responsible for the day-to-day management of the Fund. Mr.
Velissaris was the founder and Chief Investment Officer (“CIO”) of IQCM and exercised control
over IQCM until he was removed on or about February 21, 2021. Under the Investment Advisory

1
 See TAP, Special Litigation Committee Announcement (Dec. 28, 2021), available at:
https://www.infinityqfundliquidation.com/cases/infinity%20q/2023.03.01%20slc%20announcement.pdf.

FINN DIXON & HERLING LLP  SIX LANDMARK SQUARE, STAMFORD, CT 06901-2704  T 203.325.5000  F 203.325.5001  WWW.FDH.COM
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Agreement between the Fund and IQCM dated September 23, 2014, the Fund was required to pay
IQCM an annual management fee of 1.70% of the Fund’s average daily net assets.

        As alleged in the Indictment, and as Mr. Velissaris admitted at his guilty plea, between at
least 2018 and February 2021, Mr. Velissaris engaged in a fraudulent scheme to mismark the value
of the Fund’s OTC derivative positions. See Indictment (ECF 1), at ¶¶ 1, 25-33; Plea Tr. (Nov.
21, 2022), at 13-15. Mr. Velissaris perpetrated the mismarking scheme in order to materially
inflate the net asset value (“NAV”) of the Fund as reported to investors, to attract and retain
investments in the Fund, and to increase the management fees paid by the Fund to IQCM and, in
turn, Mr. Velissaris’ own compensation. See Indictment ¶ 1.

       On February 18, 2021, based on information that the U.S. Securities and Exchange
Commission (“SEC”) shared with IQCM, IQCM informed the Fund that Mr. Velissaris had been
manipulating certain parameters in the third-party pricing model used to value the Fund’s assets,
which had affected the value of the Fund’s OTC derivatives. 2 The next day, IQCM informed the
Fund that it was unable to verify the reasonableness of the previously reported value of the Fund’s
OTC positions and, therefore, was unable to calculate a current NAV for the Fund. 3

        On February 22, 2021, IQCM and TAP, on behalf of the Fund, filed an application,
pursuant to Section 22(e) of the Investment Company Act, with the SEC to suspend shareholder
redemptions in the Fund as of February 19, 2021. 4 The SEC approved the application the same
day (the “SEC Order”). 5 The SEC Order required the TAP Board to create a plan for an orderly
liquidation of Fund assets and develop a distribution plan to make appropriate payments to
shareholders. 6 Both plans were to be submitted to SEC staff and be implemented under the
supervision of the SEC. 7 The SEC Order also required TAP, on the Fund’s behalf, to engage an
independent third party to assist in determining the fair value of the Fund’s OTC positions,
including re-evaluating the historical valuations of the Fund. 8

      Consistent with the SEC Order, the TAP Board retained Russell Investments
Implementation Services, LLC (“RIIS”), a registered investment adviser, to assist in the liquidation

2
 See Application of Infinity Q Diversified Alpha Fund and Infinity Q Capital Management, LLC for an
Order pursuant to Section 22(e)(3) of the Investment Company Act of 1940 (Feb. 22, 2021), available at:
https://www.infinityqfundliquidation.com/cases/q%20proposal/sec%20application.pdf (“Section 22(e)
Application”), at 3.
3
    See id.
4
    See generally Section 22(e) Application.
5
 See Notice of Application and a Temporary Order Under Section 22(e)(3) of the Investment Company
Act of 1940 (Feb. 22, 2021), available at:
https://www.infinityqfundliquidation.com/cases/q%20proposal/sec%20order.pdf.
6
    See id. at 5.
7
    See id. at 6.
8
    See id.
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of the assets held by the Fund that were not already in cash or cash equivalents at the time of the
SEC Order. 9 On or about March 19, 2021, the liquidation of the Fund’s assets was completed,
which resulted in the Fund holding cash or cash equivalent assets of approximately
$1,249,395,877. 10 In connection with the liquidation, the Fund paid RIIS approximately $850,000
in fees. 11

        Pursuant to the SEC Order, the TAP Board retained Alvarez & Marsal Valuation Services,
LLC (“A&M”) to perform a re-evaluation of the Fund’s February 18, 2021 NAV and the Fund’s
historical valuations. 12 A&M’s analysis was required by the SEC Order and necessary for the
Fund to determine when and to what extent the Fund’s NAV was overstated. Based on its analysis,
A&M determined that the Fund’s OTC derivatives positions were overstated at each month-end
date from February 2017 through January 31, 2021. In connection with the re-evaluation of the
Fund’s NAVs, the Fund paid A&M approximately $1,573,882 in fees.

         As stated above, the SEC Order required the TAP Board to develop a plan of distribution
to distribute the Fund’s assets to shareholders under the supervision of the SEC (the “Distribution
Plan”). In connection with the TAP Board’s efforts to determine how much of the Fund’s assets
needed to be held in reserve to cover the Fund’s own debts, obligations, and liabilities (the “Special
Reserve”), the Fund’s counsel retained Cornerstone Research (“Cornerstone”) to develop
reasonable estimates of the total amounts that the Fund may be liable to pay in damages to
shareholders in pending securities class actions on account of transactions in the Fund’s shares
during the period in which the Fund’s NAV was inflated. 13

       In November 2021, the TAP Board finalized the Distribution Plan, and the Fund made an
interim distribution of approximately $500 million, or about 40% of the Fund’s gross assets, on a

9
 See Infinity Q Diversified Alpha Fund Plan of Distribution of Assets (Nov. 8, 2021), available at:
https://www.infinityqfundliquidation.com/cases/q%20proposal/infinity%20q%20-
%20amended%20plan%20of%20distribution%20final%2011-4-2021.pdf (“Distribution Plan”), at 2.
10
   Id. at 3. As of February 18, 2021, the last date on which the Fund calculated its NAV, the Fund’s stated
NAV based on valuations performed by Mr. Velissaris was $1,727,194,949. As discussed herein, an
independent third-party valuation consultant retained by the TAP Board calculated that the Fund’s NAV
as of February 18, 2021 should have been approximately $1,334,262,392. Thus, while the Fund suffered
a loss as a result of the liquidation of the Fund’s assets—the difference between the as-liquidated value of
the Fund’s assets ($1,249,395,877) was approximately $84,866,515 less than the Fund’s NAV on
February 18, 2021 ($1,334,262,392) as calculated by the valuation consultant—the amount of such loss
attributable to the liquidation cannot reasonably be quantified. Although the Fund submits that Mr.
Velissaris is responsible for such loss, because of the difficulty in quantifying the loss, the Fund is not
seeking restitution on that basis.
11
  Although the Investment Advisory Agreement between IQCM and the Fund provides that IQCM is
responsible for paying any costs of liquidating the Fund, IQCM rejected the Fund’s demand that IQCM
agree to pay the liquidation expenses. See Distribution Plan at 4.
12
     See id. at 3.
13
     See id.
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pro rata basis to each shareholder as of February 18, 2021. 14 The Fund used Cornerstone to
calculate the amounts to be distributed to each shareholder (less an initial offset claim based on a
shareholder’s gain as a result of any redemptions of the Fund’s shares at an inflated NAV). The
Fund also paid “Redemption Claims” in accordance with the Distribution Plan and used
Cornerstone to calculate the amounts to be distributed to those shareholders that had previously
redeemed their shares but had not been paid. In April 2022, the TAP Board approved a second
interim distribution of approximately $170 million to the Fund’s current shareholders, and the
Fund again used Cornerstone to calculate the amounts to be distributed to shareholders. After
making the second interim distributions, the Fund held approximately $570 million in the Special
Reserve to satisfy the Fund’s liabilities. 15 To date, the Fund has paid Cornerstone approximately
$2,288,416 in fees in connection with the distribution of the Fund’s assets. 16

        Separately, at the SLC’s request, Cornerstone calculated the following based on A&M’s
re-evaluated historical NAVs for the Fund: (i) the net amount that the Fund overpaid former
shareholders who fully redeemed their shares of the Fund at an inflated NAV (taking into account
the amount the Fund received from those shareholders when they bought shares from the Fund at
an inflated price); and (ii) the amount of management fees that the Fund overpaid to IQCM as a
result of the inflated NAVs. Based on Cornerstone’s calculations, between February 2017 and
February 2021, the Fund incurred a net inflation loss of approximately $46,482,819 and paid
approximately $7,485,202 in excess management fees to IQCM. 17




14
  See Shareholder Notice, Infinity Q Diversified Alpha Fund Commences Interim Distribution of $500
Million (Nov. 8, 2021), available at:
https://www.infinityqfundliquidation.com/cases/q%20proposal/infinity%20q%20-
%20fund_%20shareholder%20notice%20-%20initial%20distribution%20%28final%2011-8-
2021%29.pdf.
15
  See Shareholder Notice, Infinity Q Diversified Alpha Fund Commences Second Distribution of $170
Million (Apr. 15, 2022), available at:
https://www.infinityqfundliquidation.com/cases/q%20proposal/iq%20fund_%20shareholder%20notice%
20-%20second%20interim%20distribution%20%28april%202022%29.pdf.
16
  On November 10, 2022, the SEC filed a settled civil action against the Fund that alleged that, as a result
of Mr. Velissaris’ mismarking of certain of the Fund’s positions, the Fund violated Rule 22c-1 under the
Investment Company Act of 1940, which governs the pricing of Fund shares. The settlement enjoined the
Fund from further violations of Rule 22c-1, but imposed no financial penalties. As part of the settlement,
the Fund consented to the appointment of a Special Master to, among other things, oversee the
distribution of the Fund’s remaining assets going forward. See Final Judgment on Consent, SEC v.
Infinity Q. Diversified Alpha Fund, No. 22 Civ. 9608 (PKC) (S.D.N.Y. Nov. 17, 2022 (ECF 8). As
contemplated by the settlement, on January 10, 2023, Judge Castel entered a consent order appointing a
Special Master. See Consented to Order Appointing Special Master, SEC v. Infinity Q. Diversified Alpha
Fund, No. 22 Civ. 9608 (PKC) (S.D.N.Y. Jan. 10, 2023) (ECF 15).
17
     Neither Mr. Velissaris nor IQCM has repaid the Fund for the excess management fees.
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        On February 17, 2022, the Indictment in the above-captioned case was unsealed. 18 Based
on the fraudulent scheme to mismark the Fund’s OTC derivative positions, the Indictment charged
Mr. Velissaris with one count of securities fraud, in violation of 15 U.S.C. §§ 78j(b) & 78ff and
17 C.F.R. § 240.10b-5; one count of investment adviser fraud, in violation of 15 U.S.C. §§ 80b-6
and 80b-17; and one count of wire fraud, in violation of 18 U.S.C. § 1343. 19

        On November 21, 2022, Mr. Velissaris pled guilty, pursuant to a plea agreement with the
government, to Count One of the Indictment, which charged him with securities fraud. In the plea
agreement dated November 20, 2022, Mr. Velissaris “agree[d] to make restitution in an amount
ordered by the Court, pursuant to Title 18, United States Code, Sections 3663, 3663A, and 3664.” 20
At the change of plea hearing, Mr. Velissaris acknowledged that in addition to a term of
imprisonment and other potential penalties that could result from his guilty plea, “there may also
be requirements of forfeiture and restitution.” 21 Mr. Velissaris consented to entry of a Preliminary
Order of Forfeiture in the amount of $22 million representing the proceeds traceable to the
securities fraud offense that Mr. Velissaris personally obtained. 22

                                              Applicable Law

         Under the Victim and Witness Protection Act (“VWPA”), see 18 U.S.C. § 3663, a district
court may—and under the Mandatory Victims Restitution Act (“MVRA”), see 18 U.S.C. § 3663A,
a district court must—order restitution to victims who suffer a pecuniary harm as a result of certain
offenses, including offenses against property committed by fraud or deceit. 23 The VWPA also


18
   In connection with its participation in the government’s investigation of Mr. Velissaris, the Fund
incurred attorneys’ fees paid to its outside counsel. Because most, if not all, of the attorneys’ fees
incurred were in response to requests from the SEC, however, the Fund is not seeking restitution for those
attorneys’ fees in light of the Second Circuit’s holding that only fees incurred in connection with the
criminal investigation and prosecution of the defendant are eligible for restitution. See United States v.
Afriyie, 27 F.4th 161, 173-74 (2d Cir. 2022).
19
  The Indictment also charged Mr. Velissaris with making false statements to an accountant, in violation
of 15 U.S.C. §§ 78ff, 80a-29, 7202 and 17 C.F.R. § 240.13b2-2; conspiracy to obstruct an SEC
investigation, in violation of 18 U.S.C. § 371; and obstruction of an SEC investigation, in violation of 18
U.S.C. § 1519.
20
     Plea Agreement at 2.
21
     Plea Transcript, United States v. Velissaris, No. 22 Cr. 105 (DLC) (S.D.N.Y. Nov. 21, 2022), at 9.
22
  Id. at 16; see also Consent Preliminary Order of Forfeiture/Money Judgment, United States v.
Velissaris, No. 22 Cr. 105 (DLC) (S.D.N.Y. Nov. 21, 2022) (ECF 66).
23
  It is an open question in the Second Circuit whether a district court can or must award restitution to
victims where a defendant has been convicted solely of an offense under Title 15. See United States v.
Afriyie, 27 F.4th 161, 166 n.1 (2d Cir. 2022) (noting that “[t]here is some disagreement in the district
courts about whether securities fraud is a covered offense” under the VWPA and MVRA, but stating that
the court “need not resolve this debate …because the parties never raised it and because [the defendant]
was also convicted of wire fraud”). Here, Mr. Velissaris, who was also charged with wire fraud, agreed
in his plea agreement to pay restitution to victims in an amount to be determined by the district court, and
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provides that “[t]he court may also order restitution in any criminal case to the extent agreed to by
the parties in a plea agreement.” 18 U.S.C. § 3663(a)(3).

        For purposes of restitution, a “victim” means “a person directly and proximately harmed
as a result of the commission of an offense,” including, in the case of an offense that involves as
an element a “scheme” or “pattern of criminal activity,” “any person directly harmed by the
defendant’s criminal conduct in the course of the scheme . . . .” 18 U.S.C. § 3663(a)(2); see also
18 U.S.C. § 3663A(a)(2). The Second Circuit has found direct cause to be established where a
defendant’s action was the “but for” cause of the harm. United States v. Marino, 654 F.3d 310,
322–23 (2d Cir. 2011). As to proximate cause, a court must consider “whether the harm alleged
has a sufficiently close connection to the conduct at issue,” and the requirement may be satisfied
where the harm was “foreseeable.” Robers v. United States, 572 U.S. 639, 645 (2014) (internal
quotation marks omitted); accord United States v. Williams, 811 F. App’x 690, 691 (2d Cir. 2020).

         In the case of an offense resulting in loss of property, a victim is entitled to the return of
the property or, if the return of the property is impossible, impractical, or inadequate, “an amount
equal to the greater of (i) the value of the property on the date of the damage, loss, or destruction,
or (ii) the value of the property on the date of sentencing, less the value . . . of any part of the
property that is returned.” 18 U.S.C. § 3663(b)(1); see also 18 U.S.C. § 3663A(b)(1). In addition,
a defendant may be ordered to “reimburse the victim for lost income and necessary . . . other
expenses related to participation in the investigation or prosecution of the offense or attendance at
proceedings related to the offense.” 18 U.S.C. § 3663(b)(4); see also 18 U.S.C. § 3663A(b)(4);
United States v. Afriyie, 27 F.4th 161, 173-74 (2d Cir. 2022) (holding that “other expenses” include
“attorneys’ fees [a victim] was required to incur to advance the investigation or prosecution of the
offense” and “[t]he expenses a victim incurs while preparing for and participating in restitution
proceedings”).

                                               Discussion

       The Fund was a victim of the years-long, massive valuation fraud that is the basis of Mr.
Velissaris’ securities fraud conviction and is, therefore, entitled to restitution under the MVRA,
VWPA, and plea agreement.

       Mr. Velissaris’ fraud was the direct and proximate cause of the extensive pecuniary
damages that the Fund has incurred, including: (i) a net inflation loss of $46,482,819 as a result of
having overpaid former shareholders who fully redeemed their shares in the Fund at inflated
NAVs; (ii) the payment of $7,485,202 in excess management fees to IQCM; and (iii) the Fund’s
payment of $4,712,298 in fees to various service providers that the Fund had to retain in order to
carry out, in accordance with the SEC Order, the liquidation of the Fund’s assets (RIIS), re-
evaluation of the Fund’s historical NAVs (A&M), and distribution of the Fund’s assets to


subsequently affirmed his understanding of his obligation to pay restitution to victims during his change
of plea hearing.
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shareholders (Cornerstone). Thus, the total amount of pecuniary damages incurred by the Fund is
$58,680,319.

        The Fund is entitled to restitution for these pecuniary damages because they would not
have occurred “but for” Mr. Velissaris’ fraudulent misvaluation of the Fund’s OTC derivative
positions. Marino, 654 F.3d at 322–23. Furthermore, Mr. Velissaris’ fraud was the proximate
cause of the Fund’s pecuniary damages because they were the reasonably foreseeable result of Mr.
Velissaris’ scheme. Robers, 572 U.S. at 645; Williams, 811 F. App’x at 691. Mr. Velissaris knew,
or reasonably should have known, that his massive mismarking scheme would cause the Fund to
overpay both IQCM and redeeming shareholders, and that when the scheme was uncovered, such
a massive fraud would necessarily cause the collapse and liquidation of the Fund. All of the
ensuing costs that the liquidation, re-evaluation of the Fund’s NAVs, and distribution of the Fund’s
assets entailed were the natural and foreseeable result of Mr. Velissaris’ fraud.

       In addition to the pecuniary damages incurred by the Fund as a direct result of Mr.
Velissaris’ fraud, the Fund has also incurred attorneys’ fees in connection with this restitution
application for which it also seeks restitution. The Fund will provide the amount of attorneys’ fees
incurred once that application has been decided.

                                            Conclusion

         For the foregoing reasons, the Fund respectfully requests that the Government seek
restitution on behalf of the Fund for pecuniary damages in the amount of $58,680,319, and
attorneys’ fees for the Fund’s restitution application in an amount to be determined. In addition,
the Fund requests that the Government provide a copy of this letter to the Court as a Victim Impact
Statement. Should the government or the Court require documentation to support the amount of
restitution sought herein, or any other information, the SLC, on behalf of the Fund, will provide it.

                                                      Sincerely,


                                                      ________________________
                                                      Daniel S. Noble


Cc:    David Slovick, Esq. (by email)
       Erin Steele, Esq. (by email)
       Michael Battle, Esq. (by email)
       William Martin, Esq. (by email)

       Attorneys for Defendant James Velissaris
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                     EXHIBIT B
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                                                                                  Daniel S. Noble
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                                                                                  dnoble@fdh.com




                                                   April 6, 2023


Margaret S. Graham, Esq.
Assistant U.S. Attorney
U.S. Attorney’s Office
Southern District of New York
1 Saint Andrew’s Plaza
New York, NY 10007

                  Re:      United States v. James Velissaris, 22 Cr. 105 (DLC)

Dear AUSA Graham:

         As you know, we represent the Special Litigation Committee (“SLC”) of the Board of the
Trust for Advised Portfolios (“TAP”), of which the Infinity Q Diversified Alpha Fund (the “Fund”)
is a series portfolio. We write to supplement our letter dated March 30, 2023 regarding the Fund’s
request for restitution in the above-captioned case.

        Following the submission of our March 30 letter to the government, the SLC was advised
by the Fund’s administrator, U.S. Bancorp Fund Services, LLC (“USBFS”), that in addition to the
$1,573,882 in fees that the Fund paid to Alvarez & Marsal Valuation Services, LLC (“A&M”) in
connection with its re-evaluation of the Fund’s historical net asset values (“NAVs”), the Fund also
incurred $450,000 in expenses that were necessary for A&M’s analysis. Specifically, USBFS had
to acquire a license from Bloomberg for A&M to use the Bloomberg Valuation Services
(“BVAL”) pricing tool in order to perform its historical valuation analysis. The Fund, in turn, was
required to reimburse USBFS for the fees paid to Bloomberg.

         As discussed in our March 30 letter, the SLC, on behalf of the Fund, is also seeking
restitution for attorneys’ fees that the Fund has incurred in connection with its restitution
application. See United States v. Afriyie, 27 F.4th 161, 173-74 (2d Cir. 2022) (holding that “other
expenses” under the MVRA include “[t]he expenses a victim incurs while preparing for and
participating in restitution proceedings”). To date, those attorneys’ fees total $18,874. The SLC
reserves the right to seek additional attorneys’ fees should the Fund incur such fees in connection
with its preparation and participation in further restitution proceedings in this case.




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         Again, should the government or the Court require documentation to support the amount
of restitution sought by the Fund, or any other information, the SLC will provide it.


                                                  Sincerely,


                                                  ________________________
                                                  Daniel S. Noble


Cc:    David Slovick, Esq. (by email)
       Erin Steele, Esq. (by email)
       Michael Battle, Esq. (by email)
       William Martin, Esq. (by email)

       Attorneys for Defendant James Velissaris
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                    EXHIBIT C

           DAF Vendor Expenses
                                                                                                                            Case 1:22-cr-00105-DLC Document            125 Filed 06/02/23 Page 16 of 45
                                                                                                                                                     GFS Vendor Expense ‐ CR, AM, RIIS




Fund Name                           TF/Share CLass   Vendor Invoice       Payee                                             GL Number    Star GL Name                    Period Start Date   Period End Date   Frequency   Fixed/Variable   Non Corp Entity f TotalAmount           Description                                     Date Entered        Payment Type
Infinity Q Diversified Alpha Fund   TF               20210430‐52310‐A     Russell Investments US Institutional Holdco Inc   2005000400   Accrued Advisor Fees (Fixed)    4/1/2021            4/30/2021         Monthly     Variable         Yes                          100,000.00 4.30.21 Inv. Advisory Fee Client ID C14121001             6/24/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               20210331‐52310‐A     Russell Investments US Institutional Holdco Inc   2005000400   Accrued Advisor Fees (Fixed)    3/1/2021            3/31/2021         Monthly     Variable         Yes                          750,000.00 3.31.21 Inv. Advisory Fee Client ID C14121001             4/27/2021 Domestic Wire
                                                                                                                                                                                                                                                                         850,000.00

Infinity Q Diversified Alpha Fund   TF               829620 20220930310   Alvarez and Marsal Valuation Services LLC         2005000200   Accrued Other Expense (Fixed)   3/28/2022           8/10/2022         Various     Variable         Yes                           13,125.00 Valuation services fees 3.28.22 thru 8.10.22            10/25/2022 ACH
Infinity Q Diversified Alpha Fund   TF               829620 220324145     Alvarez and Marsal Valuation Services LLC         2005000200   Accrued Other Expense (Fixed)   12/1/2021           3/23/2022         Monthly     Variable         Yes                          137,891.25 Valuation services fees 12.1.21 thru 3.23.22             3/27/2022 ACH
Infinity Q Diversified Alpha Fund   TF               829620 20211216151   Alvarez and Marsal Valuation Services LLC         2005000400   Accrued Advisor Fees (Fixed)    11/1/2021           11/30/2021        Monthly     Variable         Yes                           45,307.50 Valuation services fees 11.1.21 thru 11.30.21           12/22/2021 ACH
Infinity Q Diversified Alpha Fund   TF               829620 20211216134   Alvarez and Marsal Valuation Services LLC         2005000400   Accrued Advisor Fees (Fixed)    10/1/2021           10/31/2021        Monthly     Variable         Yes                          117,993.75 Valuation services fees 10.1.21 thru 10.31.21           12/22/2021 ACH
Infinity Q Diversified Alpha Fund   TF               829620 20211001366   Alvarez and Marsal Valuation Services LLC         2005000400   Accrued Advisor Fees (Fixed)    9/1/2021            9/30/2021         Monthly     Variable         Yes                          328,135.59 Valuation services fees 9.1.21 thru 9.30.21              10/5/2021 ACH
Infinity Q Diversified Alpha Fund   TF               829620 20210909175   Alvarez and Marsal Valuation Services LLC         2005000400   Accrued Advisor Fees (Fixed)    7/1/2021            8/31/2021         Various     Variable         Yes                          263,865.00 Valuation services fees 7.1.21 thru 8.31.21              9/21/2021 ACH
Infinity Q Diversified Alpha Fund   TF               829620 210720711     Alvarez and Marsal Valuation Services LLC         2005000400   Accrued Advisor Fees (Fixed)    5/8/2021            6/30/2021         Various     Variable         Yes                          370,912.50 Valuation services fees 5.8.21 thru 6.30.21              7/26/2021 ACH
Infinity Q Diversified Alpha Fund   TF               829620‐20210511      Alvarez and Marsal Valuation Services LLC         2005000400   Accrued Advisor Fees (Fixed)    5/27/2021           5/7/2021          Various     Variable         Yes                          296,651.25 Valuation services fees through 5.7.21                   5/26/2021 ACH
                                                                                                                                                                                                                                                                       1,573,881.84

Infinity Q Diversified Alpha Fund   TF               101371               Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   10/1/2022           10/31/2022        Monthly     Variable         No                            43,994.50 October 2022 fees Infinity Q inv 101371                 11/28/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               100677               Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   9/1/2022            9/30/2022         Monthly     Variable         No                            26,477.50 September 2022 fees Infinity Q inv 100677               10/25/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               100341               Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   8/1/2022            8/31/2022         Monthly     Variable         No                            96,808.50 August 2022 fees Infinity Q inv 100341                   9/27/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               100340               Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   8/1/2022            8/31/2022         Monthly     Variable         No                             4,402.00 August 2022 fees Infinity Q inv100340                    9/27/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               99577                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   7/1/2022            7/31/2022         Monthly     Variable         No                            78,673.00 July 2022 fees Infinity Q inv 99577                      8/28/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               99152                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   6/1/2022            6/30/2022         Monthly     Variable         No                           104,907.00 June 2022 fees Infinity Q inv 99152                      7/26/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               98513                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   5/1/2022            5/31/2022         Monthly     Variable         No                           127,830.00 May 2022 fees Infinity Q inv 98513                       6/22/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               98019                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   4/1/2022            4/30/2022         Monthly     Variable         No                            95,060.50 April 2022 fees Infinity Q inv 98019                     5/11/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               97452                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   3/1/2022            3/31/2022         Monthly     Variable         No                           149,560.00 March 2022 fees Infinity Q inv 97452                      4/6/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               97157                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   2/1/2022            2/28/2022         Monthly     Variable         No                            53,666.00 February 2022 fees Infinity Q inv 97157                  3/27/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               97156                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   2/1/2022            2/28/2022         Monthly     Variable         No                            12,435.50 February 2022 fees Infinity Q inv 97156                  3/27/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               96623                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   1/1/2022            1/31/2022         Monthly     Variable         No                             5,144.00 January 2022 fees Infinity Q inv 96623                   2/24/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               96622                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   1/1/2022            1/31/2022         Monthly     Variable         No                            51,058.50 January 2022 fees Infinity Q inv 96622                   2/24/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               96077                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   12/1/2021           12/31/2021        Monthly     Variable         No                            50,672.00 December 2021 fees Infinity Q inv 96077                  1/27/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               96076                Cornerstone Research Inc                          2005000200   Accrued Other Expense (Fixed)   12/1/2021           12/31/2021        Monthly     Variable         No                           159,630.00 December 2021 fees Infinity Q inv 96076                  1/27/2022 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               95563                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    11/1/2021           11/30/2021        Monthly     Variable         No                           230,775.00 November 2021 fees Infinity Q inv 95563                 12/22/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               95090                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    10/1/2021           10/31/2021        Monthly     Variable         No                           180,544.00 October 2021 fees Infinity Q inv 95090                  11/18/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               95089                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    10/1/2021           10/31/2021        Monthly     Variable         No                             6,727.50 October 2021 fees Infinity Q inv 95089                  11/18/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               94556                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    9/1/2021            9/30/2021         Monthly     Variable         No                            20,471.50 September 2021 fees Infinity Q inv 94556                11/18/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               94547                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    9/1/2021            9/30/2021         Monthly     Variable         No                           117,499.00 September 2021 fees Infinity Q inv 94547                11/18/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               93875                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    8/1/2021            8/31/2021         Monthly     Variable         No                           188,686.50 August 2021 fees Infinity Q inv 93875                    9/21/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               93401                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    7/1/2021            7/31/2021         Various     Variable         No                           156,474.00 July 2021 fees Infinity Q inv 93401                      8/18/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               92866                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    6/1/2021            6/30/2021         Monthly     Variable         No                           114,699.50 June 2021 fees Infinity Q inv 92866                      7/26/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               91936                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    4/1/2021            4/30/2021         Monthly     Variable         No                            47,325.00 April 2021 fees Infinity Q Inv 91936                     6/10/2021 Domestic Wire
Infinity Q Diversified Alpha Fund   TF               92458                Cornerstone Research Inc                          2005000400   Accrued Advisor Fees (Fixed)    5/1/2021            5/31/2021         Monthly     Variable         No                           164,894.50 May 2021 fees Infinity Q inv 92458                       6/10/2021 Domestic Wire
                                                                                                                                                                                                                                                                       2,288,415.50




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                      EXHIBIT D

       DAF Excess Management Fees
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                                               Infinity Q Diversified Alpha Fund
                                             Estimated Monthly Management Fees
             A&M BVAL        Calendar Days              Monthly Fee                    Management Fees       Management Fees
Month End    based NAV         in Month                 Percentage[1]             using A&M BVAL based NAV   Paid by the Fund    Difference
                 [a]              [b]           [c] = 1.7% * [b] / Days in Year         [d] = [a] * [c]            [e]          [f] = [e] - [d]
1/31/17     $157,705,722         31                         0.14%                        $227,701               $223,484          -$4,217
2/28/17     $153,992,005         28                         0.13%                        $200,822               $204,032           $3,209
3/31/17     $150,494,337         31                         0.14%                        $217,289               $223,138           $5,849
4/30/17     $150,840,325         30                         0.14%                        $210,763               $216,325           $5,562
5/31/17     $151,952,834         31                         0.14%                        $219,395               $228,123           $8,728
6/30/17     $150,863,386         30                         0.14%                        $210,795               $224,884          $14,088
7/31/17     $154,162,102         31                         0.14%                        $222,585               $230,026           $7,442
8/31/17     $157,281,083         31                         0.14%                        $227,088               $235,533           $8,445
9/30/17     $159,481,674         30                         0.14%                        $222,837               $228,691           $5,853
10/31/17    $160,618,536         31                         0.14%                        $231,907               $240,748           $8,842
11/30/17    $163,339,241         30                         0.14%                        $228,227               $235,482           $7,255
12/31/17    $170,922,508         31                         0.14%                        $246,784               $247,160             $376
1/31/18     $167,978,317         31                         0.14%                        $242,533               $249,832           $7,299
2/28/18     $190,653,736         28                         0.13%                        $248,633               $233,614         -$15,020
3/31/18     $207,624,579         31                         0.14%                        $299,776               $295,265          -$4,510
4/30/18     $212,210,359         30                         0.14%                        $296,513               $299,245           $2,732
5/31/18     $219,914,365         31                         0.14%                        $317,520               $313,037          -$4,483
6/30/18     $226,903,459         30                         0.14%                        $317,043               $316,056            -$987
7/31/18     $277,073,663         31                         0.14%                        $400,049               $356,828         -$43,221
8/31/18     $301,904,307         31                         0.14%                        $435,900               $426,772          -$9,129
9/30/18     $305,244,214         30                         0.14%                        $426,506               $426,568              $62
10/31/18    $330,802,405         31                         0.14%                        $477,624               $470,211          -$7,413
11/30/18    $327,385,803         30                         0.14%                        $457,443               $482,469          $25,026
12/31/18    $407,733,741         31                         0.14%                        $588,700               $552,887         -$35,813
1/31/19     $483,971,324         31                         0.14%                        $698,775               $674,102         -$24,673
2/28/19     $503,541,368         28                         0.13%                        $656,673                $676,409         $19,736
3/31/19     $522,587,676         31                         0.14%                        $754,531                $780,059         $25,528
4/30/19     $529,844,230         30                         0.14%                        $740,330                $772,017         $31,687
5/31/19     $554,263,655         31                         0.14%                         $800,266               $810,991         $10,725
6/30/19     $577,016,402         30                         0.14%                         $806,242               $844,643         $38,401
7/31/19     $610,109,196         31                         0.14%                         $880,897               $927,726         $46,829
8/31/19     $628,851,896         31                         0.14%                         $907,959               $986,565         $78,606
9/30/19     $637,903,976         30                         0.14%                         $891,318               $969,817         $78,499
10/31/19    $643,257,037         31                         0.14%                         $928,757             $1,022,733         $93,975
11/30/19    $672,005,978         30                         0.14%                         $938,967             $1,028,609         $89,641
12/31/19    $675,803,617         31                         0.14%                         $975,749             $1,099,960        $124,210
1/31/20     $699,973,429         31                         0.14%                       $1,007,885             $1,123,490        $115,605
2/29/20     $666,659,534         29                         0.13%                         $897,987             $1,102,676        $204,689



                                                                         Page 1 of 2
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                                                                       Infinity Q Diversified Alpha Fund
                                                                     Estimated Monthly Management Fees
                         A&M BVAL                   Calendar Days                   Monthly Fee                        Management Fees                   Management Fees
 Month End               based NAV                    in Month                      Percentage[1]                 using A&M BVAL based NAV               Paid by the Fund    Difference
                            [a]                           [b]              [c] = 1.7% * [b] / Days in Year                 [d] = [a] * [c]                      [e]         [f] = [e] - [d]
 3/31/20               $604,102,066                       31                           0.14%                                 $869,841                      $1,362,783        $492,942
 4/30/20               $679,339,492                       30                           0.14%                                 $946,621                      $1,552,061        $605,440
 5/31/20               $764,558,435                       31                           0.14%                               $1,100,881                      $1,753,662        $652,782
 6/30/20               $871,450,690                       30                           0.14%                               $1,214,317                      $1,826,896        $612,580
 7/31/20               $949,631,603                       31                           0.14%                               $1,367,366                      $2,021,059        $653,693
 8/31/20             $1,063,316,258                       31                           0.14%                               $1,531,059                      $2,149,127        $618,068
 9/30/20             $1,142,723,614                       30                           0.14%                               $1,592,320                      $2,220,673        $628,354
 10/31/20            $1,181,634,728                       31                           0.14%                               $1,701,425                      $2,394,362        $692,937
 11/30/20            $1,267,669,718                       30                           0.14%                               $1,766,425                      $2,370,196        $603,771
 12/31/20            $1,396,584,503                       31                           0.14%                               $2,010,929                      $2,464,385        $453,456
 1/31/21             $1,351,829,415                       31                           0.14%                               $1,951,819                      $2,503,565        $551,745
 2/18/21             $1,334,262,392                       18                           0.08%                               $1,118,587                      $1,777,543        $658,956

Total                                                                                                                     $36,232,362                     $44,376,520       $8,144,158
Total – Excluding Feb 21                                                                                                  $35,113,775                     $42,598,977       $7,485,202

 Source: Alvarez&Marsal Infinity Q Portfolio Valuation dated August 11, 2022; Infinity Q Mgmt Fees 2017_2021.xlsx from U.S. Bank dated August 12, 2022

 Note:
 [1] Uses simple interest when calculating monthly fee percentage.


Privileged and Confidential: Attorney Work Product




                                                                                                       Page 2 of 2
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                      EXHIBIT E

   DAF Net Inflation Loss Calculation
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                   EXHIBIT F

           DAF Bloomberg Fees
                  Case 1:22-cr-00105-DLC Document 125 Filed 06/02/23 Page 23 of 45




Invoice Date:               05/20/2021
Invoice Number:             20210430-5125-A

         Infinity Q
         TAP Expenses
         U.S. Bancorp Fund Services, LLC
         2020 E. Financial Way
         Suite 100
         Glendora, CA 91741

Billing Period:             04/01/2021 to 04/30/2021
         CURRENT INVOICE SUMMARY
                  Miscellaneous Charges                                                       0.00
                  Miscellaneous Fees                                                    300,000.00

         TOTAL CURRENT AND PAST DUE                                                                             $ 300,000.00


                                            * See attached worksheet for calculation details




                                      PLEASE ENCLOSE COPY OF INVOICE IN RETURN ENVELOPE
WIRE / ACH FUNDS TO:
        U.S. Bank NA, 777 E. Wisconsin Avenue, Milwaukee, WI, 53202, US Bancorp Fund Services, LLC, ABA #: 075000022, Account #:
        112924312
        For Further Credit: US Bancorp Fund Services, LLC, 20210430-5125-A, Attn: Financial Reporting
MAIL REMITTANCES TO:
         Financial Reporting
         U.S. Bancorp Fund Services, LLC
         777 East Wisconsin Avenue
         Milwaukee, WI 53202
Invoice Date: Case 1:22-cr-00105-DLC
                05/20/2021                Document 125 Filed 06/02/23 Page 24 of 45
Invoice Number: 20210430-5125-A

Investor Servicing
      No Fees


Miscellaneous Fees:
  Fee Description            Detail                                                       Amount

  Misc Service               BVAL one time fee of $264k and $36k for ongoing fee      $ 300,000.00
                             BVAL Derivatives service
                                             Total Other Fees:                        $ 300,000.00

                                  Total Amount Due:                                $ 300,000.00




                                                                                                     Page 2
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Invoice Date:               01/03/2022
Invoice Number:             20211130-5125-A

         Infinity Q
         TAP Expenses
         U.S. Bancorp Fund Services, LLC
         2020 E. Financial Way
         Suite 100
         Glendora, CA 91741

Billing Period:             11/01/2021 to 11/30/2021
         CURRENT INVOICE SUMMARY
                  Miscellaneous Charges                                                       0.00
                  Miscellaneous Fees                                                    150,000.00

         TOTAL CURRENT AND PAST DUE                                                                             $ 150,000.00


                                            * See attached worksheet for calculation details




                                      PLEASE ENCLOSE COPY OF INVOICE IN RETURN ENVELOPE
WIRE / ACH FUNDS TO:
        U.S. Bank NA, 777 E. Wisconsin Avenue, Milwaukee, WI, 53202, US Bancorp Fund Services, LLC, ABA #: 075000022, Account #:
        112924312
        For Further Credit: US Bancorp Fund Services, LLC, 20211130-5125-A, Attn: Financial Reporting
MAIL REMITTANCES TO:
         Financial Reporting
         U.S. Bancorp Fund Services, LLC
         777 East Wisconsin Avenue
         Milwaukee, WI 53202
Invoice Date: Case 1:22-cr-00105-DLC
                01/03/2022               Document 125 Filed 06/02/23 Page 26 of 45
Invoice Number: 20211130-5125-A

Investor Servicing
      No Fees


Miscellaneous Fees:
  Fee Description            Detail                                                      Amount

  Misc Service               BVAL One Time Fee for Ongoing Fee BVAL Derivatives      $ 150,000.00
                             Service
                                            Total Other Fees:                        $ 150,000.00

                                  Total Amount Due:                               $ 150,000.00




                                                                                                    Page 2
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                      EXHIBIT G

                   DAF Legal Fees
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 $$ 0 K45 62443163363334 41K            9
              36 624636333 96246363336
             41KL36Q9 R
 $$ KL 36316156461P 413 16  4                              
           363161564166413 156                                  9
 $$ KL /6246 6665 0K16                                             9N
 $$ KL /6246 16246T6333                                     9          N
 $$ 0K K343134 4                                                           N
 $ $ 0 /6246 16246363336KL361 4Q R              9
 $ $ KL 36316156461P 413 16  4                              9N
 $N$ 0 /624636333                                                  9
 $N$ KL 36316156461P 413                                      9          N
 $N$ KL /6246 16246T6333                                    9N     9 N
 $N$ KL 36316156416  461P 413                       N        9N
 $ $ 0 /6246 16246T6333Q R 61431334166 61            9
            Q R
 $ $ KL 4 4                                                  N        9N
 $ $ KL U33 4 44544131361466416                9          N
 $ $ KL K13664 4                                                N
 $ $ KL 36316156461P 413                                      9          N
 $ $ KL 36316156461P 413 16  4                     N        9N
 $ $ KL 36316156416  4                                             9N
 $ $ KL /6246 16246T6333                                               N
 $ $ *0 K35 616246                                                             9 N
    63666 6641 6 66414                                    
              4KL366665636333416246 3 4163
            53/61451')3144316661426Q R
               6 6135 616246 416431341416246 
            3 416353/6145Q R* 4V 66166416246 3')
            3144316661426Q 9R
 $ $ KL 36316156416  431454413                        9          N
 $ $ KL 6 066414
 $ $ KL K13660W6 066414                                    N        9N
 $ $ KL /6246 16246T6333                                     9        
 $ $ KL /6246 66656 3 *066                                         9N
 $ $ KL 36316156461P 413                                                N
 $ $ KL 43                                                              N N
 $ $ *0 6 066414
 $ $ *0 31643                                                    9        NNN
 $ $ V 6 66414
 $ $ X 33416353 41416246 36')314431                  9         N
            6661426
 $ $ X 6 066414                                                            
 $ $ 0K K343134 4                                                          N
                                                                                    6
        FGHIKLMMNOPNQRSQTNUVF WXOYZI[\]^N_ `abIcQ]dMKdM_ UGeI]XfT
       Case 1:22-cr-00105-DLC Document 125 Filed 06/02/23 Page 30 of 45
654444313466363                                    012345689 9
 !"3#24"6#3343"5$3%1&'3()!1#62456                   49 
     *+)41154,-                                                                6
6
'61#3 .
)362456"/61#66#3!05                                 06812 + 9
 $ $ 0 3416246 3 416353/61455 6 6143136665 88        9
            6414243163634313/ 6815665
            641093:;33435 6/6246 16246624614
              6 35 863 1454314 43:361
            4544136624431636246146 35 86/6246 1
            6246 162463 4163416246 353/61455 6
             6143135 166655 6
 $ $ 3: /6246 416246 3 4163/6145                               9          8
 $ $ 3: 3631615640 6 316641/3 10 3                           98
 $ $ 3:  61431353631615643 1> 661666                    98
            665
 $ $ 3: 36316156461? 413                                               8
 $ $ 3: 36316156461? 413 16  431454413                 8
 $ $ 3:  6143135363161564414@531641/3 156                     98
            6246 53 14543164116 5665 41 61                        
 $ $ >A /6246 53 145431641353 41416246 56 6                9        8
 $ $ 03 3343134 4                                                         98
     36316156414636641 416246 353                    9
            /61455 96
 $$  * 416 A64 4@44133:361 4C 4101414 98          8
            *4413> 6616
 $$ 3: 363161564 64163 616  4641            9          8
            A64 46161541
 $$ 3: 36633:D%"61A64""4"6"4!431             +8      2 +8
 $$ 3: 36316156461? 413 16  4                              98
 $$ 3: 36316156461? 413 641416 416246               9          8
            3 416
 $$ 3: 3631615640 6 3166/3 156                          9          8
 $$ >A /6656)1@4345341                                        8         8
 $$ >A /6656)1@4345341                                      9           8
 $$ >A /6656)1@4345341                                      99         8
 $$ >A /6656)1@4345341                                                98
 $$ 03 3343134 4                                                  8       9
 $9 $ 0 /6246 3 416163416246 353/61455 63166156 8       988
              4641014149016246 3/61455964>
             6616656655315614144 46544641)13343
            5 6335 616246 644 46544641)133435 86* 4
             466246146 31336416246 3453
            534165 6
 $9 $  /6653> 661631*441 * 416 A64 46416 9          8
             3 363 41633  66163 333
 $9 $ 3: 016246 353/6145                                           98      9 8
 $9 $ 3: 3663%"61A64""4"6"4!431                9+8     9 +8
 $9 $ 3: 36316156416  461? 413                     9          8
 $9 $ 3: 36316156461? 413 641416 416246              9          8
            3416
 $9 $ *0  6124416246 3/6145                                  9         98
 $9 $ >A /6656)1@4345341
 $9 $ >A 316615646 641665                                        98
 $9 $ >A /6656)1@4345341                                               
 $9 $ >A /6656)1@4345341                                              98
 $9 $ >A 3 4611 6641)1@4345341                          
 $9 $ 03 3343134 4                                                          
 $9$ 0 /6246 136345 43136665643:3641 9                 
            6431354*0665 96345 66654*
            0665 96/6246 1363416246 3/43161611
            > 645416431341416246 3 41630
                                                                                   6
        HIJKMNOOPQRPSTUSVPWXH YZQ[\K]^_`Pa bcdKeS_fOMfOa WIgK`ZhV
       Case 1:22-cr-00105-DLC Document 125 Filed 06/02/23 Page 31 of 45
654444313466363                                              012345689 9
!"#3$24#6$3343#5%3&1'(3)*"1$62456                             49 
     +,*41154-.                                                                         6
6
(61$3 
*362456#/61$66$!3"05                                        06812 , 9
                      3 39 4
 %9% 56         /6246 58614146080!5 6163 4141/3 1          9        99
 %9% +0         4 3                                                      9        999
 %9% +0         *4146/6145416246 136                                     9          99
 %9% 0 5         31 56665                                               9       9
 %9% 0           /6246 530;56<33436544666 = 66161 9            9
                    545636 3 4!6 664143 4+ 456366
                    3 141416246 6 6 3(*3 45416246 3 4163
                    04563 3 4
 %9% 56          /6246 (*35 61 6/ 69                                                 9
 %9% 56          /6246 5 665 = 6616                                           99
 %9% 56          36316156461@ 413                                       9          9
 %9% 56          !6 066414                                                         
 %9% 56          363161564 44544136361466                       9
                      416 6
 %9% 56          36316156416  43145441361@ 413  9                 9
 %9% 56         31$"55"1$66#651$$66356C61 ,9     9 ,9
                    D64##4#6#4"4316>"6#
 %9% +0          !6 66414
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 %9% +0          6665                                                     9      99 9
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                    3 1454314 45636= 66161
                    3 663 416246 3 4
 %99% 56         36316156416  431454413= E6 1            9           9
                    641/3 10!55
 %99% 56         /6246 16246016246 8 416304563
 %99% 56         363161564 3 6416246 3 416304563                  99
 %99% 56         3631615640 6  516641/3 10!5                    9        99
 %99% 56         363161564= 6616                                            9          9
 %99% 56         /6246 162468614146080!5 6163 4141 9              9
                    /3 156
 %99% +0         6665                                                             999
 %99% D          33416353 41416246 304563                         9         9
 9                  343134 4 153 14564 6416 6 9                       9
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                    /666142639 4*33 45 431456363 4545 
                    4 62653 654464  6616 96246 
                    6656 366 +06616 445 41
                    62443163 4+ 45636 414544136
                    89633 4
 %9%           6635 61 3&153016246 3613                         9
 %9%           46565/3 103431354 4  6163 416 44 9                     9
                    05166 6
 %9% 56          36316156461@ 413 =6241D 6616641            9        9
                      3 416246
 %9% 56          3631615640 6  516641/3 10!5                    9        9
 %9% 56          0664 3 1= 6616                                                 99
 %9% 56          46 31=E6 1                                                    9
 %9% 56          3631615640 6  516(44116 56146                9        9
                    16 = E6 116  431454413641
                    /3 10!55
 %9% 56          36316156461@ 413 641(*41615313          9           9
                    63
                                                                                            6
        FGHIKLMMNOPNQRSQTNUVF WXOYZI[\]^N_ `abIcQ]dMKdM_ UGeISXfT
       Case 1:22-cr-00105-DLC Document 125 Filed 06/02/23 Page 32 of 45
654444313466363                                             012345689 9
!"#3$24#6$3343#5%3&1'(3)*"1$62456                            49 
     +,*41154-.                                                                        6
6
(61$3 /
*362456#061$66$!3"15                                       16823 , 9
 %9% 45          3631615647 86 116  4314544136 9                 
                      33 65316
 %9% 45          016246 313 4                                            9       9 
 %9% 45          06246 16246 61403 1;6141460;1!4                 9
                     6163 41
 %9% 45          3631615647 86 11166 31                              9          
 %9% +1          6665                                                             
 %9% <            6116613631416246 314563                    9       
 %9% 1 4          06246343134 4 1531 5666536 6                  9
 %9 % 1          363161564414653616  431454413                 9
 %9 % 45         06246 16246460;1!44103 156                             9
 %9 % 45         36316156461= 413 641(*41615313         9          
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       Case 1:22-cr-00105-DLC Document 125 Filed 06/02/23 Page 33 of 45
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                  EXHIBIT H

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